                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT


 MARY REIDT, on behalf of the Frontier
 Communications 401(k) Savings Plan and all             Civil Action No. 3:18-cv-01538-RNC
 others similarly situated,

                Plaintiff,

        v.

 FRONTIER COMMUNICATIONS CORP.                          January 11, 2019
 THE RETIREMENT INVESTMENT &
 ADMINISTRATION COMMITTEE AND
 JOHN/JANE DOES 1-10,

                Defendants.



    JOINT MOTION TO STAY DISCOVERY AND ALL OTHER DEADLINES SET
            FORTH IN THE ORDER ON PRE-TRIAL DEADLINES

       Plaintiff, Mary Reidt, and Defendants, Frontier Communications Corporation, the

Retirement Investment & Administration Committee, and John/Jane Does 1-10, by and through

their undersigned counsel and pursuant to Fed. R. Civ. P. 16(b)(4), hereby file this joint motion to

stay discovery and all other deadlines set forth in the Order on Pre-Trial Deadlines (“Order”). (See

ECF 2.) In support of this motion, the Parties submit the following:

       1.      On September 11, 2018, Plaintiff filed the present suit on behalf of herself and

members of a purported class. (See ECF 1.)

       2.      On September 11, 2018, the Court entered a standard Order providing that

“[f]ormal discovery. . . may not commence until the parties have conferred as required by Fed. R.

Civ. P. 26(f) and Local Civil Rule 16[.]” (See Order.) The Order further states that “[u]nless

otherwise ordered, discovery shall be completed within 6 months after the latest of the following:



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the filing of the complaint, the filing of a petition for removal, the transfer of an action from another

District, or the appearance of the last defendant.” (See Order; emphasis added.) Also, “all

motions for summary judgment shall be filed within 35 days after the deadline for completion of

discovery.” (Id.)

        3.      On October 4, 2018, Defendants appeared.

        4.      On October 4, 2018, Defendants moved for an extension of time, to a date set by

the Court at the pre-filing conference, to respond to Plaintiff’s Complaint. (See ECF 11.)

Defendants outlined in their motion that they had spoken with Plaintiff’s counsel regarding their

intention to request a pre-filing conference in anticipation of filing a motion to dismiss and the

Parties agreed that Defendants would file a letter requesting the pre-filing conference. (See id. at

2.)

        5.      On October 5, 2018, the Court granted Defendants’ motion for extension of time

and ordered that the pre-filing conference request was due on or before October 19, 2018. (ECF

16.)

        6.      On October 19, 2018, Defendants moved for a pre-filing conference. (See ECF 29.)

        7.      On November 2, 2018, Plaintiff responded to Defendants’ motion. (See ECF 35.)

        8.      Currently, the deadline by which the Parties must complete discovery is April 4,

2019 and dispositive motions must be filed by May 9, 2019.

        9.      To date, the Court has not ruled on Defendants’ request for a pre-filing conference.

        10.     Fed. R. Civ. P. 16(b)(4) states “Modifying a Schedule. A schedule may be modified

only for good cause and with the judge’s consent.” Similarly, Fed. R. Civ. P. 26(c) outlines that a

district court may stay discovery deadlines upon a showing of “good cause.” See Thrower v. Pozzi,

2002 WL 91612 at *7 (S.D.N.Y. Jan. 24, 2002) (quoting Siemens Credit Corp. v. American Transit



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Ins. Co., 2000 WL 534497, at *1 (S.D.N.Y. May 3, 2000)). Courts have stayed pre-trial deadlines

when doing so would be in the Parties’ and Court’s best interests. See Cuartero v. United States,

No. 3:05CV1161 RNC, 2006 WL 3190521, at *3 (D. Conn. Nov. 1, 2006) (finding “that there is

good cause for staying discovery… [because] [p]ermitting discovery to proceed would be unduly

burdensome to the defendant and would be inefficient for both parties… [and] would also be likely

to result in additional motion practice[.]”).

        11.        In the present case, there is good cause for staying the current deadlines provided

in the Order and a brief stay of the deadlines is in the best interest of the Parties and the Court.

        12.        Modification of the current deadlines would promote judicial economy by allowing

the Court to focus on resolving the issues raised in Defendants’ motion for pre-filing conference

without distraction.

        13.        Further, modification of the current deadlines would limit litigation costs to all

parties during the early stages of litigation (e.g., preparing and responding to discovery requests;

document collection, production, and review; meeting and conferring regarding discovery

disputes; etc.).

        14.        This Motion is being filed in good faith and not for the purposes of delay.

WHEREFORE, Plaintiff and Defendants respectfully request that this Court enter an Order

granting the Parties’ joint motion to stay until: (1) the Court rules on Defendants’ pre-filing

conference; (2) the Court resolves any motion to dismiss; and (3) the Parties confer pursuant to

Rule 26(f). Following the Rule 26(f) conference, the Parties will submit a proposed pretrial

schedule.




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DATED: January 11, 2019       Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

        I certify that on January 11, 2019, I caused a true and correct copy of the foregoing

document to be served electronically on all counsel of record registered for electronic service for

this case.


        Executed this 11th day of January 2019 at West Harford, Connecticut.


                                                         /s/ Mark P. Kindall
                                            Mark P. Kindall (ct13797)




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